          Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 1 of 44

                                                  Brooklyn Defender Services    Tel ((347) 598-3648
                                                  177 Livingston St., 7th Fl.   Fax (718) 254-0897
                                                  Brooklyn, NY 11201            sarya@bds.org

                                                  Visitor Center
                                                  156 Pierrepont St.
                                                  Brooklyn, NY 11201


                                                                                       November 16, 2023
VIA ICE ONLINE FOIA PORTAL

U.S. Immigration and Customs Enforcement
Freedom Of Information Act Office
500 12th Street, SW, Stop 5009
Washington, D.C. 20536-5009

RE:    Response to ICE FOIA Letter, dated: October 18, 2023, Requesting More Information
       for ICE FOIA Case Number 2024-ICFO-01546

Dear ICE FOIA Officer,

        I am writing on behalf of                           (A# 216-173-723), in response to your
letter dated October 18, 2023, requesting more information and resubmission of ICE FOIA Case
Number 2024-ICFO-01546.               herein timely responds to that request.

                    filed this FOIA request on October 12, 2023. On October 18, 2023, ICE
acknowledged receipt of the FOIA request and requested additional information. ICE incorrectly
stated that the request as filed was (1) too broad; (2) did not identify specific records; and (3) only
posed questions to the agency. ICE requested that             submit a “perfected request containing a
reasonable description of the records [he] is seeking.” See, Acknowledgment of Receipt.

        In compliance with 5 U.S.C. § 552(a)(3)(A) and 6 C.F.R. § 5.3(b),            original FOIA
request contained a reasonable description clearly and specifically identifying records he sought.
Although the initial request provided a reasonable description of the records sought,             ,
through counsel, submits this updated request with some minor modifications to expedite production
of the responsive documents.

       Please note, the prior request had bullet pointed lists of items; for clarity, paragraph numbers
are now added; the requests are nearly identical. The updated records requested are enumerated, in
black colored font, and described as “Updated request.” The initial records requested are bullet
pointed, in grey colored font, and described as “Initial request.” The updated and initial requests
appear below to permit comparison and to facilitate an understanding of any modifications to the
requests.

Specific Records Requested

   1- Updated request: Any and all notations or documentation within DHS/ICE systems or in
      possession of DHS/ ICE, regarding disclosures under 5 USC § 552a(b)(7) to third parties
      regarding           I-589 application, decisions by the Immigration Judge, and BIA appeals.
      Dates for these communications may range from April 2022 – present;



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      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 2 of 44

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                                             Brooklyn, NY 11201


           ● Initial request: Any and all notations or documentation within DHS/ICE systems
             or in possession of DHS/ ICE, regarding disclosures under 5 USC § 552a(b)(7)
             to third parties regarding                   I-589 application, decisions by the
             Immigration Judge, and BIA appeals. Dates for these communications may range
             from April 2022 – present;

2- Updated request: Any and all email communications (and attachments) between DHS/ICE
   and third parties regarding               I-589 application, decisions by the Immigration
   Judge, and BIA appeals. Dates for these communications may range from 2021 – 2023;

           ● Initial request: Any and all email communications (and attachments) between
             DHS/ICE and third parties regarding            s I-589 application, decisions by
             the Immigration Judge, and BIA appeals. Dates for these communications may
             range from 2021-2023;

3- Updated request: Any and all communications between DHS/ICE and the Executive Office
   of Immigration Review, regarding violations of its confidentiality obligations under 8 C.F.R.
   § 208.6 in            immigration proceedings. Dates for these communications may range
   from August 2023 – Present;

           ● Not initially requested

4- Updated request: Any and all communications between DHS/ICE and ICE’s Office of
   Professional Responsibility Joint Intake Center regarding violations of its confidentiality
   obligations under 8 C.F.R. § 208.6 in              immigration proceedings. See Exh. C (letter
   from ICE to DHS/ICE/OPLA Chief Counsel Wen-Ting Cheng stating, “After learning of this
   violation, ICE has self-reported the violation to ICE’s Office of Professional Responsibility
   Joint Intake.”) Dates for these communications may range from August 2023 – Present;

           ● Not initially requested

5- Updated request: Any and all email communications (and attachments) between DHS/ICE
   and the Nassau County District Attorney's Office regarding           I-589 application,
   testimony and filings (including briefing and evidence) pertaining to this application,
   Immigration Judge decisions, appeals with Board of Immigration Appeals. Dates for these
   communications may range from April 2022 – 2023;

           ● Initial request: Any and all email communications (and attachments) between
             DHS/ICE and the Nassau County District Attorney's Office regarding
             I-589 application, testimony and filings (including briefing and evidence)




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      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 3 of 44

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               pertaining to this application, Immigration Judge decisions, appeals with Board of
               Immigration Appeals. Dates for these communications may range from 2021-
               2023;

6- Updated request: Any and all email communications (and attachments) between DHS/ICE
   and the Nassau County District Attorney's Office regarding destroying, refraining from
   using or disclosing               protected information. Dates for these communications may
   range from May 3, 2023 – Present. See Exh. C (letter from DHS/ICE/OPLA Chief Counsel
   Wen-Ting Cheng stating “ICE has also taken steps to protect [                       ] privacy by
   requesting that the Nassau County DA’s Office destroy the immigration court decision, refrain
   from using or disclosing its contents in any manner, including further dissemination… ICE
   also requested that the DA’s office provide our office with a list of any disclosures it may have
   already made so that ICE can take any additional appropriate remedial measures.”);

           ● Initial request: The number and identity of individuals at the Nassau County
             District Attorney's Office to whom ICE sent a request to destroy, refrain from
             using or disclosing             protected information. See Exh. C (letter from
             ICE to Nassau County)

7- Updated request: Any and all direct email communications (and attachments) regarding
          and (i) his father,              , and/or (ii) his mother,               ; and/or (iii) his
   brother,                (also known as              ); and/or (iv) his brother,
   and/or (v) his wife,              and/or (vi) the attorney,                                      ,
   between DHS and members of the Indian government or Indian government agencies or,
   indirect email communications (and attachments) between DHS and members of the Indian
   government or Indian government agencies through a third party (for instance, the
   Department of State). Dates for these communications may range from September 2019 –
   2023;

           ● Initial request: Any and all direct email communications (and attachments)
             regarding            or his relatives, between DHS and members of the Indian
             government or Indian government agencies or, indirect email communications
             (and attachments) between DHS and members of the Indian government or Indian
             government agencies through a third party (for instance, the Department of State).
             Dates for these communications may range from 2021-2023;

8- Updated request: Communications between ICE employees, between ICE and employees at
   the Buffalo Federal Detention Center in Batavia, New York, and between ICE and other
   third parties relating to:




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      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 4 of 44

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       a) The purposeful or inadvertent public sharing of               PII (including but not
          limited to information or documents related to his Form I-589 and fear-based claims)
          on or about May 30, 2023 and/or on any other date from January 2023 – present;

          ● Initial request: Communications between ICE employees, between ICE and
            employees at the Buffalo Federal Detention Center in Batavia, New York, and
            between ICE and other third parties relating to:
                ○ The purposeful or inadvertent public sharing of             h’s PII (including
                     but not limited to information or documents related to his fear-based
                     claims) on or about May 30, 2023 and/or on any other date from January
                     2023 – present;

9- Updated request: Communications between ICE employees, between ICE and employees at
   the Orange County Jail, in Goshen, New York, and between ICE and other third parties
   relating to:
       a) The purposeful or inadvertent public sharing of                PII (including but not
           limited to information or documents related to his Form I-589 and fear-based claims)
           on or about May 30, 2023 and/or on any other date from September 2021 – present;

          ● Initial request: Communications between ICE employees, between ICE and
            employees at the Orange County Jail, in Goshen, New York, and between ICE
            and other third parties relating to:
                ○ The purposeful or inadvertent public sharing of                  PII (including
                     but not limited to information or documents related to his fear-based
                     claims) on or about May 30, 2023 and/or on any other date from
                     September 2021 – present;


10- Updated request: Any investigation by ICE or any other component under the Department
    of Homeland Security (“DHS”) into release of              PII (including but not limited
    to information or documents related to his Form I-589 and fear-based claims) to external
    non-DHS entities and/ or individuals, whether purposefully or inadvertently, on or about
    May 30, 2023 and/or on any other date;

          ● Initial request: Any investigation by ICE or any other component under the
            Department of Homeland Security (“DHS”) into the purposeful or inadvertent
            public release of             PII (including but not limited to information or
            documents related to his fear-based claims), whether purposefully or
            inadvertently, on or about May 30, 2023 and/or on any other date;




                                                                                                 004
          Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 5 of 44

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   11- Updated request: The number and identity of all third parties that accessed, downloaded,
       or in any manner were involved in the sharing              PII and information related to his
       fear-based claims, whether shared by ICE purposefully or inadvertently;

               ● Initial request: The number and identity of all third parties that accessed,
                 downloaded, or in any manner were involved in the sharing                   PII and
                 information related to his fear-based claims, whether shared by ICE purposefully
                 or inadvertently;
   12- Updated request: The number and identity of any other individuals/entities to whom ICE
       first, disclosed             PII pursuant to 5 USC § 552a(b)(7) and/ or in violation of 8
       C.F.R. § 208.6 and to whom ICE later, subsequently sent “clawback letters”. See
       http://www.ice.gov/pii (“The ‘clawback’ letter asks those entities or individuals to destroy the
       document and refrain from using or disclosing the Information contained in the disclosure.”).
       Dates for these communications may range from August 2023 – Present.

               ● Initial request: The number and identity of any other individuals/entities to whom
                 ICE has sent “clawback letters” as described on the ICE website. See
                 http://www.ice.gov/pii.
   13- Updated request: Any non-exempt written drafts and/or final conclusions, legal or otherwise,
       by ICE as to:
           a) How its data breach(es) of               PII occurred;
           b) Whether and if so, how those data breaches compromised               right to privacy
              and/or right to confidentiality pursuant to 8 C.F.R. § 208.6;
           c) Any duty, obligation and/or efforts by ICE to remedy its breach of            right to
              privacy and/or right to confidentiality under 8 C.F.R. § 208.6.

               ● Initial request: Any non-exempt written drafts and/or final conclusions, legal or
                 otherwise, by ICE as to:
                     ○ How its data breach(es) occurred;
                     ○ Whether and if so, how it compromised                      right to privacy
                          and/or right to confidentiality pursuant to 8 C.F.R. § 208.6;
                     ○ Any duty, obligation and/or efforts by ICE to remedy its breach of Mr.
                                   right to privacy and/or right to confidentiality under 8 C.F.R. §
                          208.6.
       To the extent that             has not identified a specific record that ICE has in its possession
and that is responsive to               request, ICE must liberally construe this reasonably described
request as part of its obligation to produce all responsive records. See Truitt v. Department of State,
897 F.2d 540, 544-45 (D.C. Cir. 1990).




                                                                                                       005
          Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 6 of 44

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        Finally,            notes his original request does not contain a single question to the agency.
Instead, as recounted above and further specified here, the request identifies a finite set of records with
specific, cognizable parameters such as dates, authors and recipients, and subject matter, such that
DHS personnel could locate the records with a reasonable amount of effort. Namely, pursuant to
federal regulation, the request specifies:

   a) The case number, as previously stated, for this FOIA request relates to documents regarding

   b) The date ranges for the requested records are from 2021-2023; September 2021-Present;
      April 2022; January 2023- Present; May 30, 2023.
   c) The potential authors and recipients of the requested records, which are in ICE’s custody,
      include: ICE; Nassau County District Attorney’s Office; Government of the Republic of India;
      Buffalo Federal Detention Center; Orange County Jail.
   d) The subject matter for this request includes:
         i.  disclosures under 5 USC § 552a(b)(7)
        ii.  communications between DHS/ ICE and external parties regarding
                            asylum claim
       iii. communications between DHS/ ICE and external parties relating to the sharing of
                                         personally identifiable information (“PII”)
       iv. communications regarding DHS/ ICE investigation of external sharing of
             PII and/ or information related to his fear-based claim
        v. documents regarding DHS violations of its confidentiality obligations under 8 C.F.R.
             § 208.6 in               case, including the events resulting in the violation, and any
             subsequent reporting, investigation and attempts to remedy violation.

       Please note that we do not seek records in              A-File as we have previously filed a
separate request for those records with U.S Citizenship and Immigration Service (“USCIS”).

Request to Expedite
                     resubmitted request meets the criteria for expedited treatment. See 5 U.S.C. §
552(a)(6)(E)(i); 6 C.F.R. § 5.5(e). A request qualifies for expedited treatment if it involves one of the
following criteria:

       (i) Circumstances in which the lack of expedited processing could reasonably be expected to
       pose an imminent threat to the life or physical safety of an individual; (ii) An urgency to inform
       the public about an actual or alleged federal government activity, if made by a person who is
       primary engaged in disseminating information; (iii) The loss of substantial due process rights;
       or (iv) A matter of widespread and exceptional media interest in which there exist possible
       questions about the government’s integrity which affect public confidence. 6 C.F.R. §
       5.5(e)(1)(i)-(iv).




                                                                                                        006
          Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 7 of 44

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        Here,            can demonstrate that this request continues to meet at least two of the criteria
for expedited processing: first, a lack of expedited processing under the facts of his case poses an
“imminent threat” to his life and physical safety, and second, absent expedited process,
faces “the loss of substantial due process rights.”

        On October 30, 2023, the BIA remanded                     proceedings to the Immigration Court.
See Exh. G.                  next hearing date is December 1, 2023, at which time he anticipates the
Immigration Court will set an imminent deadline for submission of updated evidence.
intends to present a supplemental claim for protection under asylum/withholding of removal under the
INA/protection under the Convention against Torture (“CAT”) given the unlawful ICE disclosure.
Specifically,            fears persecution and torture in India by members of the government. Members
of the Indian government officials have already targeted many in                  s family, including his
father and his brother. Details surrounding his claims were discussed in the 22-page decision that ICE
impermissibly shared, among other documents, a decision that is now part of a public court record in
Nassau County, New York. See Exh. F (Paralegal Affidavit).

                   fears that individuals and entities have an interest in and the ability to access these
documents, and he cannot properly articulate the factual basis for his claim related to and/or arising
out of ICE’s illegal disclosure, without knowing the full extent of the specific PII and asylum-related
information disclosed and to whom. Thus, this information could constitute critical evidence related
to the risk of persecution/torture that            faces in India, including the likelihood of his future
harm, an element he must prove when his case is remanded to the Immigration Court. At present, Mr.
       lacks complete knowledge of the full extent of factual evidence in the government’s possession
relevant to demonstrating the likelihood his persecutors/torturers could or may have already accessed
the PII and asylum-related information impermissibly shared. This information is essential to the full
and fair adjudication of              claim.

        Finally, information regarding ICE’s breach of privacy and/or confidentiality in
case raises due process concerns and, as such, an obligation by the U.S. government has arisen to
provide all relevant information to him. See e.g. Anim v. Mukasey, 535 F.3d 243, 255-56 (4th Cir.
2008).             thus urges that ICE must release all records implicating his due process matters in
an expeditious matter.

Exemptions:
       If ICE concludes that statutory exemptions apply to any of the information requested, please
describe in detail the nature of the information withheld, the specific exemption or privilege upon
which the information is withheld, and whether the portions of withheld documents containing non-
exempt or non-privileged information have been provided. Moreover, even if ICE invokes exemptions
to records related to             , ICE must still provide “any reasonably segregable portion of a
record…after deletion of the portions which are exempt under this subsection.” 5 U.S.C. ¶ 552(b).
Nonetheless,            reserves the right to challenge any claimed exemptions as permitted under the
FOIA statute.




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           Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 8 of 44

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                                                156 Pierrepont St.
                                                Brooklyn, NY 11201

       Thank you for your attention to this request. Please do not hesitate to contact me or let me
know if you require anything further to respond to this request.


                                            Sincerely,



                                            Michelle Lee Doherty, Esq.
                                            Senior Attorney
                                            New York Immigrant Family Unity Project (NYIFUP)
                                            Brooklyn Defender Services
                                            M: (917) 685-9457
                                            Mdoherty@bds.org

 Exhibit       Description                                                                          Page
    A.         Form G-28, Notice of Entry of Appearance as Attorney                                   9
    B.         Form G-639, Freedom of Information/Privacy Act Request                                13
    C.         Letter from ICE, dated Sept. 18, 2023 (admitting to the violating the                 24
               regulations in              case by sharing the written decision in his
               fear-based proceedings)
    D.         Copy of Joint Motion to Remand, signed Oct. 10, 2023                                  26
    E.         BIA Appeal Receipt Notice                                                             29
    F.         Paralegal Affidavit, dated Sept. 26, 2023 (documenting that any member                31
               of the public can request a copy of the criminal court file that now
               contains the decision regarding               fear-based claims)
    G.         BIA Remand Decision, dated Oct. 30, 2023                                              33
    H.         Notice of Hearing, scheduling                next hearing before the                  35
               Immigration Court for December 1, 2023




                                                                                                      008
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 9 of 44




        Exhibit A
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 10 of 44




                                                                    009
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 11 of 44




                                                                    010
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 12 of 44




                                                                    011
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 13 of 44




                                                                    012
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 14 of 44




         Exhibit B
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 15 of 44




                                                                    013
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 16 of 44




                                                                    014
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 17 of 44




                                                                    015
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 18 of 44




                                                                    016
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 19 of 44




                                                                    017
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 20 of 44




                                                                    018
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 21 of 44




                                                                    019
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 22 of 44




                                                                    020
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 23 of 44




                                                                    021
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 24 of 44




                                                                    022
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 25 of 44




                                                                    023
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 26 of 44




         Exhibit C
       Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 27 of 44
                                                                       Office of the Principal Legal Advisor
                                                                       U.S. Department of Homeland Security
                                                                       26 Federal Plaza, Room 1130
                                                                       New York, NY 10278


                                                                       U.S. Immigration and
                                                                       Customs Enforcement


September 18, 2023


Sarika Arya, Esq. and Michelle Doherty, Esq.
Senior Staff Attorneys, Immigration Practice (NYIFUP)
Brooklyn Defender Services
VIA EMAIL: sarya@bds.org and mdoherty@bds.org

Senior Attorney Arya and Senior Attorney Doherty:

This letter is being sent to inform you that U.S. Immigration and Customs Enforcement (ICE)
mistakenly disclosed to the Nassau County, NY District Attorney’s Office, limited asylum related
information pertaining to your client,                ngh, in violation of its confidentiality obligations
under 8 C.F.R. §208.6. Specifically, the information disclosed was an unredacted copy of the
immigration judge’s decision, dated February 6, 2023, issued in your client’s removal proceeding
that discussed your client’s request for protection in the United States. We are notifying you directly
as the attorneys of record to ensure your client receives notice of the inadvertent disclosure.

After learning of this violation, ICE has self-reported the violation to ICE’s Office of Professional
Responsibility Joint Intake Center. ICE has also taken steps to protect your client’s privacy by
requesting that the Nassau County DA’s Office destroy the immigration court decision, refrain from
using or disclosing its contents in any manner, including further dissemination. ICE is presently
seeking confirmation from the DA’s office that it has complied with our request; we will
immediately inform you when it has done so. ICE also requested that the DA’s office provide our
office with a list of any disclosures it may have already made so that ICE can take any additional
appropriate remedial measures.

In light of this disclosure by ICE, OPLA NYC will agree to join in a motion to remand your client’s
removal proceedings from the Board of Immigration Appeals to the immigration court under INA §
240(c)(7)(A) to allow              to file a new or updated Form I-589, Application for Asylum and
Withholding of Removal, and apply for asylum or related protection based solely or in part on the
inadvertent disclosure. If your client would like our office to join in such a motion, please let us
know within 30 calendar days of this letter.

Please note, however, that should your client wish to pursue further applications for protection and
relief in the United States because of the disclosure, ICE will not adopt or endorse any facts or legal
arguments previously set forth by your client. Likewise, ICE will not concede the validity of any
factual allegations made in any such motion to remand, aside from the fact of the disclosure, nor will
it concede or stipulate to your client’s eligibility for any form of relief or protection. ICE will reserve
the right to contest the eligibility and merits of any relief application and submissions before the
immigration judge.



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       Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 28 of 44
ICE deeply regrets that this error occurred and will continue to work to protect the privacy of Mr.
      If you have any questions related to this matter, please contact DCC Fayaz Habib at
Fayaz.Habib@ice.dhs.gov.

Sincerely,
              Digitally signed by WEN
WEN TING      TING CHENG
              Date: 2023.09.19 00:00:26
CHENG         -04'00'
______________________
Wen-Ting Cheng
Chief Counsel
DHS/ICE/OPLA




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 29 of 44




         Exhibit D
      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 30 of 44




                                                                           DETAINED


Wen-Ting Cheng                             Michelle Doherty, Esq.
Chief Counsel                              Sarika Arya, Esq.
Fayaz Habib                                Brooklyn Defender Services
Deputy Chief Counsel                       177 Livingston St., 7th Floor
Wendy Leifer                               Brooklyn, NY 11201
Assistant Chief Counsel
U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security
26 Federal Plaza, Rm. 1130
New York, NY 10278




                      UNITED STATES DEPARTMENT OF JUSTICE
                    EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                         BOARD OF IMMIGRATION APPEALS
                                FALLS CHURCH, VA



In the Matter of:

                                           File No.:

In Removal Proceedings




                            JOINT MOTION TO REMAND




                                                                                 026
       Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 31 of 44




       The U.S. Department of Homeland Security (Department) and the respondent jointly move

the Board of Immigration Appeals (Board) to remand the respondent’s removal proceedings. This

motion is not subject to temporal or numerical limitations. 8 C.F.R. § 1003.2(c)(3)(iii).

       On or about May 30, 2023, Immigration and Customs Enforcement (ICE) disclosed the

respondent’s personally identifiable information, and information related to his removal

proceedings, to the Nassau County District Attorney’s Office. The disclosure provided the Nassau

County District Attorney’s Office with information regarding the respondent’s applications for

asylum and protection in the United States. Specifically, ICE disclosed an unredacted copy of the

Immigration Judge’s written decision, dated February 6, 2023, contrary to ICE’s confidentiality

obligations under 8 C.F.R. § 208.6 (discussing asylum and protection-related confidentiality).

Accordingly, the parties agree that remanding to the Immigration Judge is warranted to allow the

respondent to file a new or updated Application for Asylum, Withholding of Removal, and

Protection under the Convention against Torture (Form I-589), based solely or in part on the

disclosure.

       By agreeing to joint remand, the respondent does not relinquish his pending arguments

appealing the Immigration Judge’s decision dated February 6, 2023, and reserves the right to

appeal based on those issues at a future date if necessary.

       The Department does not adopt or endorse any facts or legal arguments set forth by the

respondent, aside from the fact that the disclosure took place, nor does it concede or stipulate to

the respondent’s eligibility for any forms of relief or protection. The Department reserves the right

to contest the eligibility and merits of the respondent’s applications and submissions before the

Immigration Judge.




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       Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 32 of 44




       WHEREFORE, the Department and the respondent respectfully request that the Board

remand these proceedings.

       Respectfully submitted this _th day of October, 2023.



 On behalf of                                      On behalf of
 U.S. Immigration and Customs Enforcement,         the respondent:
 U.S. Department of Homeland Security:
                  Digitally signed by
   WENDY          WENDY LEIFER

   LEIFER         Date: 2023.10.10
                  18:08:23 -04'00'
 _____________________________________
 Wendy Leifer                                      ___________________________________
 Assistant Chief Counsel                           Michelle Doherty, Esq.
                                                   Brooklyn Defender Services




                                                   __________________________________
                                                   Sarika Arya, Esq.
                                                   Brooklyn Defender Services

 Date: ______________________                      Date: October 10, 2023




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 33 of 44




          Exhibit E
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 34 of 44




                                                                    029
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 35 of 44




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 36 of 44




          Exhibit F
        Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 37 of 44




DECLARATION OF PARALEGAL, BIANNY MAGARIN

I, Bianny Magarin, swear under penalty of perjury, the following:

   1. My name is Bianny Magarin. I am employed as a paralegal for Brooklyn Defender
        Services at 177 Livingston Street, 7th Floor, Brooklyn, NY 11201.
   2. I was assigned to work on                     immigration case with the attorneys, Michelle
        Doherty and Sarika Arya. At the time of writing this declaration,               removal
        proceedings are before the Board of Immigration Appeals (“BIA”).                   A
        number is                 .           is currently detained in immigration custody at the
        Buffalo Federal Detention Facility in Batavia, New York.
   3.                 immigration attorneys became aware that immigration officials violated 8
        C.F.R. §208.6 by sharing confidential information related to his asylum case with the
        Nassau County District Attorney’s Office in New York. The attorneys became aware of
        this unlawful disclosure after employees from the Nassau County District Attorney’s
        Office filed unredacted documents related to               asylum case, including the
        Immigration Judge’s decision, as exhibits in their written opposition to
        motion for post-conviction relief under New York Criminal Procedure Law (“NYCPL”)
        § 440.10(1)(h) (often referred to as a “440 motion”). These documents were not filed
        under seal.
   4.                 immigration attorneys asked me to inquire whether state court filings related
        to 440 motions or direct appeals are public records. I write this declaration to explain a
        phone conversation I had with a supervisor at the Nassau County District Court
        addressing whether 440 motions, direct appeals, and the related filings are public record.
   5. On Friday, September 15, 2023, I called the Nassau County District Court and spoke to
        the clerk named Theresa. Theresa then gave me the contact information of her supervisor,
        Valerie, to make sure I was given the correct information regarding my questions.
   6. I left a voicemail for the supervising clerk, Valerie, and she called me back the same day.
        I asked Valerie if a 440 motion and the exhibits attached to it were public record. She told
        me that anyone from the public can obtain the records as long as the records are not
        sealed. I asked how a member of the public would request these records. She said they
        would have to submit a written request to the court and then pay for them.



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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 38 of 44




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 39 of 44




         Exhibit G
Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 40 of 44




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 41 of 44




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Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 42 of 44




         Exhibit H
      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 43 of 44



                        UNITED STATES DEPARTMENT OF JUSTICE
                      EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
                             NEW YORK IMMIGRATION COURT

                                            LEAD FILE:
                                            IN REMOVAL PROCEEDINGS
                                            DATE: Nov 16, 2023
TO: Brooklyn Defender Services
    Doherty, Michelle L
    156 Pierrepont Street, 1st Floor
    Brooklyn, NY 11201


RE:

                     Notice of Internet-Based Hearing

Your case has been scheduled for a MASTER hearing before the immigration
court on:
                       Your hearing is not in person. You will access
                       your hearing by using the web page below.
                       URL: https://eoir.webex.com/meet/IJ.Reid

Date:          Dec 1, 2023
Time:          2:30 P.M.
Court Address: 110 WELLS FARM ROAD, GOSHEN, NY 10924

Representation: You may be represented in these proceedings, at no
expense to the Government, by an attorney or other representative
of your choice who is authorized and qualified to represent persons
before an immigration court. If you are represented, your attorney
or representative must also appear at your hearing and be ready
to proceed with your case. Enclosed and online at
https://www.justice.gov/eoir/list-pro-bono-legal-service-providers
is a list of free legal service providers who may be able to assist you.

Failure to Appear: If you fail to appear at your hearing and the
Department of Homeland Security establishes by clear, unequivocal, and
convincing evidence that written notice of your hearing was provided and
that you are removable, you will be ordered removed from the United
States. Exceptions to these rules are only for exceptional circumstances.

Change of Address: The court will send all correspondence, including
hearing notices, to you based on the most recent contact information
you have provided, and your immigration proceedings can go forward in
your absence if you do not appear before the court. If your contact
information is missing or is incorrect on the Notice to Appear, you must
provide the immigration court with your updated contact information within
five days of receipt of that notice so you do not miss important information.
Each time your address, telephone number, or email address changes,
you must inform the immigration court within five days. To update your contact
information with the immigration court, you must complete a Form EOIR-33
either online at https://respondentaccess.eoir.justice.gov/en/ or by
completing the enclosed paper form and mailing it to the immigration
court listed above.


Internet-Based Hearings: If you are scheduled to have an internet-based
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      Case 1:24-cv-00617-TJK Document 10-2 Filed 03/08/24 Page 44 of 44


Internet-Based Hearings: If you are scheduled to have an internet-based
hearing, you will appear by video or telephone. If you prefer to appear
in person at the immigration court named above, you must file a motion
for an in-person hearing with the immigration court at least fifteen
days before the hearing date provided above. Additional information about
internet-based hearings for each immigration court is available on EOIR's
website at https://www.justice.gov/eoir/eoir-immigration-court-listing.

In-Person Hearings: If you are scheduled to have an in-person hearing,
you will appear in person at the immigration court named above. If you prefer
to appear remotely, you must file a motion for an internet-based hearing with the
immigration court at least fifteen days before the hearing date provided above.

For information about your case, please call 1-800-898-7180 (toll-free)
or 304-625-2050.

The Certificate of Service on this document allows the immigration court
to record delivery of this notice to you and to the Department of Homeland
Security.
______________________________________________________________________________
                             CERTIFICATE OF SERVICE
THIS DOCUMENT WAS SERVED BY:MAIL[M] PERSONAL SERVICE[P] ELECTRONIC SERVICE[E]
TO: [     ] Noncitizen | [  ] Noncitizen c/o Custodial Officer |
     [ E ] Noncitizen ATT/REP | [ E ] DHS
DATE: ____11/16/2023______ BY: COURT STAFF ___njk_______\
Attachments:[ ] EOIR-33 [ ] Appeal Packet [ ] Legal Services List [ ] Other NH




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